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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Criminal Case No. 23-cr-00276-DDD

UNITED STATES OF AMERICA,

       Plaintiff,

v.

CODY COOK,

       Defendant.


                                   NOTICE OF DISPOSITION


       THE DEFENDANT, Cody Cook, by and through his legal counsel, R. Charles Melihercik,

hereby notifies this Court that a disposition has been reached in his case with the government and

requests a Change of Plea Hearing. The defendant respectfully requests to set this Change of

Plea hearing alongside his supervised release revocation hearing, currently scheduled with this

Court for June 22, 2023, at 11:30 A.M. This would allow Mr. Cook to simultaneously resolve

the instant case and also the supervised release revocation, Case No. 20-cr-00302-1. Both sets of

counsel anticipate the Court ordering a pre-sentence investigation report prior to a sentencing

hearing.

       Counsel has conferred with Assistant U.S. Attorney Susan Knox, and she has no objection

to this Notice of Disposition or the proposed setting on June 22nd.

       WHEREFORE, undersigned counsel respectfully gives notice of a disposition being

reached in this case and requests a Change of Plea Hearing as described above.
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                                   Respectfully submitted,


Dated: May 28, 2023                s/R. Charles Melihercik
                                   R. Charles Melihercik
                                   Melihercik Law LLC
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                                   Arvada, CO 80003
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                                   Attorney for Defendant
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                                CERTIFICATE OF SERVICE

        I hereby certify on May 28, 2023, I electronically filed the foregoing with the Clerk of the
Court using the CM/ECF filing system, which will send notification of such filing to all attorneys
of record.

                                                     s/ R. Charles Melihercik
                                                     R. Charles Melihercik




        I hereby certify that the foregoing pleading complies with the type-volume limitation set
forth in Judge Domenico’s Practice Standard III(A)(1).


                                                     s/ R. Charles Melihercik
                                                     R. Charles Melihercik
